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Attorney for Defendant DAVID FRANK GUERRERO




                IN THE UNITED STATES DISTRICT COURT

              FOR THE EASTERN DISTRICT OF CALIFORNIA

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UNITED STATES OF AMERICA,                 Case No. S-07-249-LKK

            Plaintiff,                    STIPULATION AND ORDER
                                          REQUESTING CONTINUANCE OF
                                          JUDGMENT AND SENTENCING

       v.                                 Date: December 16, 2008
                                          Time: 9:15 a.m.
                                     Judge: Hon. Lawrence K. Karlton
DAVID FRANK GUERRERO,

            Defendant.
                                   /


     It is hereby stipulated between the parties, Plaintiff

United States of America, by and through United States Attorney

McGregor W. Scott and Assistant United States Attorney Jason
Hitt, and Defendant David Frank Guerrero, through his attorney

Daniel M. Davis, as follows:

     It is agreed that the current Judgment and Sentencing date

of November 17, 2008 be vacated and a new Judgment and

Sentencing date of December 16, 2008 at 9:15 a.m. be set.

     The continuance is necessary because there was

insufficient time set between the date that the Motion For

Correction and Objection of the Presentence Report had to be

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filed and the date for Judgment and Sentencing and the parties

need additional time to respond to the PSI and to each other’s

position on Judgment and Sentencing.

      For all of these reasons, the parties jointly request a

new Judgment and Sentencing date, and that the time period from

November 17, 2008 to and including December 16, 2008 be

excluded under the Speedy Trial Act pursuant to 18 U.S.C.

Section 3161(h)(8)(B)(iv) and Local Code T4 for defense

preparation and based on a finding by the Court that the ends

of justice served by granting a continuance outweigh the best

interest of the public and defendant in a speedy trial.

     Respectfully submitted,



Dated: November 11, 2008        /s/ DANIEL M. DAVIS for
                                JASON HITT
                                Assistant U.S. Attorney

Dated: November 11, 2008        /s/ Daniel M. Davis
                                DANIEL M. DAVIS
                                Attorney for DAVID FRANK GUERRERO

                          ORDER


IT IS SO ORDERED:


Dated: November 14, 2008




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